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 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11     RODRIGO ANDRADE,                     ) Case No. 8:18-cv-00959-JAK-JC
                                            )
12                                          ) (PROPOSED)
                           Petitioner,      )
13                                          ) JUDGMENT
                     v.                     )
14                                          )
                                            )
15     S. FRAUENHEIM,                       )
                                            )
16                                          )
                     Respondent.            )
17 ______________________________
18          Pursuant to this Court’s Order Accepting Findings, Conclusions and
19 Recommendations of United States Magistrate Judge,
20      IT IS ADJUDGED that the Petition for Writ of Habeas Corpus by a Person
21 in State Custody is denied on the merits and this action is dismissed with
22 prejudice.
23          IT IS SO ADJUDGED.
24 DATED: ________________
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26                                  _______________________________________
27                                  JOHN A. KRONSTADT
28                                  UNITED STATES DISTRICT JUDGE
